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THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

)

UNITED STATES OF AMERICA, ) Case No. l:07-CV-l 144 (PLF)
)

Plaintiff, ) Hon. Paul L. Friedman

)
v. )
)
TOYOBO COMPANY, LTD., e_t a_l., )
)
Defendants. )
)

 

STIPULATION AND PROPOSED ORDER FOR JUDGMENT OF
DISMISSAL OF DEFENDANTS TOYOBO CO., LTD. AND
TOYOBO U.S.A., INC. f/k/a TOYOBO AMERICA, INC.
PURSUANT TO FED. R. CIV. PROC. 41(a)(1)(A)(1)CII)
The United States and Defendants Toyobo Co., Ltd. and Toyobo U.S.A., Inc. f/k/a
Toyobo America, Inc. (collectively Toyobo) hereby agree and stipulate as follows:
WHEREAS the United States of America and Toyobo have reached a settlement of the
allegations in the Amended Complaint;
WHEREAS a Settlement Agreement with Toyobo reflecting the settlement of the United
States’ claims against Toyobo attached hereto and incorporated herein as Attachment A; and
further the Settlement Agreement controls and defines the intent of the parties in the event of any
inconsistency between this Stipulation and Order and the Settlement Agreement; and
WHEREAS the United States and Toyobo agree that this Court should retain jurisdiction
over any disputes that arise under the Settlement Agreement; and

NOW THEREFORE, the United States and Toyobo hereby agree and stipulate as

follows:

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I. The United States’ claims against Toyobo shall be dismissed with prejudice
according to the terms ofthe Settlement Agreement between the United States and Toyobo; and

2. 'l`his judgment ol`dismissal shall have no impact on any defendants in the related
actions n

l'l` lS SO S'l`lPULATED.
Dated: March 26, 2018

CHAD A. READLER
ACTING ASSISTANT ATTORNEY GENERAL

By@,ow ` y_y,___

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Counse| for the United States ol`America
Dated: March?_é, 2018

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By:

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CERTIFICATE OF SERVICE

I hereby certify that on March 26, 2(il
with the Clerk ol` Court using the CMfECF sy
record.

B, the forgoing document was filed electronically
stem_. which shall send notice to all counsel of

 
 

 

AW. Bent|ey

